KIRBY AISNER & CURLEY LLP
Proposed Substitute Attorneys for the Debtor
700 Post Road, Ste. 237
Scarsdale, New York 10583
(914) 401-9500
Erica R. Aisner, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
In re:

HAMPSTEAD GLOBAL, LLC,                                              Chapter 11
                                                                    Case No. 19-22721 (RDD)
                                             Debtor.
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                               DECLARATION RELATING TO
                            PAYMENT OF THIRD-PARTY RETAINER


        Adam Perzow hereby declares, under the penalties of perjury, the following:

        1.       I am not a party to the above captioned bankruptcy proceeding. I am the sole

member of the debtor and debtor-in-possession (the “Debtor”). I submit this Declaration in support

of the application filed by the above-captioned Debtor relating to the retention of Kirby Aisner &

Curley LLP (“KAC”) as substitute attorneys for the Debtor in this bankruptcy case.

        2.       In order to secure KAC’s services to the Debtor in this Chapter 11 case, I paid a

third-party retainer in the amount of $5,000.00 toward fees, costs and expenses to be incurred in

this Chapter 11 bankruptcy case, subject to Bankruptcy Court approval.

        3.       Although I have been advised by KAC to consult with my own counsel, I have not

retained independent legal counsel regarding the payment of the retainer or the tendering of a

guaranty to KAC.
       4.      I understand that the undivided loyalty of KAC is to its client, the above-captioned

Debtor.

       5.      Further, I am not a creditor of the Debtor and do not have any intention of asserting

a claim against the estate of the Debtor for funds advanced for legal fees in this case.

       6.      Based upon the foregoing, it is my belief that I do not have any adverse interest

against the estate of the Debtor herein, or with any creditor or any other party in interest.

Dated: New York, New York
       June 25, 2019


                                                       By: /s/ Adam Perzow
                                                               Adam Perzow




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